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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                      Case No. 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG

                   UNOPPOSED MOTION FOR AN ORDER
                    TO DEPOSIT FUNDS AND DISBURSE

      The United States and Joel Micah Greenberg request an order directing the

Clerk of Court to accept his prejudgment payments. The Clerk should hold these

funds in an interest bearing account (the Court Registry Investment System) until a

judgment of conviction and restitution order have been entered and then apply the

deposited funds toward his restitution. After payment of restitution, any surplus

funds should be applied to the defendant’s other criminal monetary penalties,

including special assessment and fines, or to the defendant’s outstanding forfeiture

order. See 28 U.S.C. §§ 2041, 2042.
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      If the prejudgment payments accrue interest in an amount that exceeds all

criminal monetary penalties and forfeiture order, any surplus accrued interest should

be remitted to the Crime Victims Fund.

                                       Respectfully submitted,

                                       KARIN HOPPMANN
                                       Acting United States Attorney

                                By:    s/ Julie A. Simonsen
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                             CERTIFICATE OF SERVICE

       I certify that on November 22, 2021, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to all parties of record.

                                              s/ Julie A. Simonsen
                                              JULIE A. SIMONSEN
                                              Assistant United States Attorney
